           Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 1 of 10                 FILED
                                                                                2017 Jun-06 PM 02:52
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


LATESIA RANCHER,                 )
                                 )
          PLAINTIFF,             )
                                 )     CIVIL ACTION NO.:
v.                               )
                                 )
BROOKDALE SENIOR LIVING          )
COMMUNITIES, INC. D/B/A          )
BROOKDALE SENIOR LIVING,         )
INC.,                            )     JURY DEMAND
                                 )
          DEFENDANT.             )
__________________________________________________________________

                           COMPLAINT
__________________________________________________________________


                                I. JURISDICTION

      1.       This is a suit authorized and instituted pursuant to Title VII of the

“Civil Rights Act of 1964”, as amended, and 42 U.S.C. §1981, as amended. The

jurisdiction of this Court is invoked to secure protection for and to redress the

deprivation of rights secured by Title VII and 42 U.S.C. § 1981, providing

injunctive and other relief against racial discrimination and retaliation in

employment.

                                     II. PARTIES

      2.       Plaintiff, Latesia Rancher, (hereafter “PLAINTIFF”), is an African-

                                          1
           Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 2 of 10




American female citizen of the United States and is a resident of Bessemer,

Alabama.

      3.       Defendant, Brookdale Senior Living Communities, Inc. d/b/a

Brookdale Senior Living, Inc., (hereafter “DEFENDANT”) is an employer doing

business in the state of Alabama. At all times relevant to this action, Defendant has

maintained and operated a business in Alabama. Defendant is engaged in an

industry affecting commerce and has fifteen (15) or more employees and

employers within the meaning of 42 U.S.C. § 2000e (b), (g), and (h).

                     III. ADMINISTRATIVE PROCEDURES

      4.       Plaintiff hereby adopts and realleges paragraphs one (1) through three

(3) herein above as if fully set forth herein.

      5.       Plaintiff brings this action for the unlawful employment practices and

acts of intentional discrimination that occurred at the Defendant’s Birmingham,

Alabama facility.

      6.       This action seeks to redress unlawful employment practices resulting

from the acts of Defendant, its agents, servants, and employees committed with

respect to Plaintiff’s employment; and for a permanent injunction restraining

Defendant from maintaining a habit and/or practice of discriminating against the

Plaintiff and others similarly situated on account of race and retaliation.

      7.       On February 24, 2017, within 180 days of the last discriminatory act



                                            2
            Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 3 of 10




of which Plaintiff complains, Plaintiff filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (hereinafter “EEOC”).

       8.       Plaintiff’s Notice of Right to Sue was mailed by the EEOC to the

Plaintiff on March 8, 2017, and Plaintiff has filed suit within ninety (90) days of

receipt of her Notice of Right to Sue.

       9.       All administrative prerequisites for filing suit have been satisfied, and

Plaintiff is entitled to bring this action.

                                       IV. FACTS

       10.      Plaintiff hereby adopts and realleges paragraphs one (1) through nine

(9) above as if fully set forth herein.

       11.      Plaintiff, Latesia Rancher, is an African-American female who began

working for the Defendant in or around April of 2013 as a Therapy Aide.

       12.      Plaintiff is the only person who operates as a Therapy Aide in the

Defendant’s Birmingham, Alabama facility.

       13.      Plaintiff assists approximately thirteen (13) Therapists who work with

the patients.

       14.      Since Plaintiff’s hiring, she has been constantly harassed by her white

supervisor, Ms. Amanda Walker.

       15.      Ms. Walker was immediately aware of Plaintiff’s African-American

descent.



                                              3
          Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 4 of 10




      16.     Plaintiff is the only African-American in her department.

      17.     Plaintiff is the only African-American who reports directly to Ms.

Walker.

      18.     Beginning in or around May 25, 2015, Plaintiff started complaining to

Defendant’s Area Director, Ms. Michelle Harvey, that Ms. Walker would

reprimand her in front of her co-workers and patients, but reprimanded her white

subordinates privately in Ms. Walker’s office.

      19.     In or around July 1, 2015, Plaintiff complained again to Ms. Harvey

about Ms. Walker’s discriminatory behavior and harsh treatment of her in front of

co-workers and patients.

      20.     In or around July 7, 2015, Ms. Walker had an aggressive attitude

towards Plaintiff and reprimanded her in front on co-workers and patients.

      21.     In or around February 2016, Plaintiff wanted to apply for FMLA leave

for hurting her neck at work and Ms. Walker told her she did not qualify.

      22.     In or around March 25, 2016, Ms. Walker gave Plaintiff her first

write-up for being on her cell phone, put her on a 30-day Action Plan, and asked

her to leave work.

      23.     Plaintiff never received any communication from Ms. Walker as to if

the 30-day Action Plan had expired or had been extended.

      24.     In or around May of 2016, Plaintiff made an appointment with Ms.



                                          4
         Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 5 of 10




Angela Harris, HR representative, to transfer out of Ms. Walker’s division.

      25.     Ms. Walker told that Plaintiff needed to call Ms. Nancy Baker, but

told me she did not have her information or telephone number.

      26.     In or around January, 26 2017, the code lock was changed on the

employee entrance door. White employees were given the code, but it was not

given to Plaintiff.

      27.     In March of 2017, Ms. Walker required Plaintiff to start drafting daily

logs of everything Plaintiff did while she was at work, including when she used the

restroom.

      28.     In or around May of 2017, the Defendant gave out suggestion slips to

its employees, however Plaintiff was excluded from receiving the suggestion slips.

      29.     Ms. Walker has a past of discriminating against African-American

workers.

      30.     Plaintiff, along with other minorities employed by the Defendant,

were discriminated against and retaliated because of their race.

                 V. STATEMENT OF PLAINTIFF’S CLAIMS

                                     COUNT ONE

            STATEMENT OF PLAINTIFF’S TITLE VII AND 42 U.S.C. § 1981
                      RACIAL DISCRIMINATION CLAIMS

      31.    Plaintiff adopts and realleges the allegations of paragraphs one (1)

through thirty (30) as if fully set forth herein.

                                            5
           Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 6 of 10




          32.   Plaintiff’s race is African-American.

          33.   Plaintiff avers based on the facts set forth herein she has been denied

pay, discriminated against, treated differently, and harassed by Defendant because

of her race and subjected to racial discrimination and a hostile work environment.

Plaintiff further avers the Defendant has a habit and/or practice of discriminating

against African-Americans and minorities.

          34.   Plaintiff avers Defendant condoned and tolerated the race

discrimination and hostile work environment. Defendant’s actions were in

violation of Title VII of the “Civil Rights Act of 1964,” as amended, and the “Civil

Rights Act of 1866,” as amended.

          35.   The Plaintiff has no plain, adequate or complete remedy at law to

redress the wrongs alleged herein, and this suit for back pay, front pay,

compensatory damages, punitive damages, attorney’s fees, expenses, costs,

injunctive relief, and declaratory judgment is her only means of securing adequate

relief.

          36.   Plaintiff is now suffering and will continue to suffer irreparable injury

from Defendant’s unlawful policies and practices set forth herein unless enjoined

by this Court.

          37.   The Plaintiff has satisfied all administrative prerequisites to bring this

claim.



                                               6
           Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 7 of 10




                               PRAYER FOR RELIEF

      WHEREFORE, PREMISES CONSIDERED, the Plaintiff respectfully

requests that this Court adopt jurisdiction of this action and award Plaintiff the

following relief:

      a.       Enter a declaratory judgment that Defendant’s policies, practices and

procedures complained of herein have violated and continue to violate the rights of

the Plaintiff as secured by Title VII of the “Civil Rights Act of 1964,” as amended,

and by the “Civil Rights Act of 1866,” as amended;

      b.       Grant Plaintiff a permanent injunction enjoining Defendant, its Agents

Successors, Employees, Attorneys, and those acting in concert with Defendant or

at Defendant’s request from violating Title VII of the “Civil Rights of 1964,” as

amended, the “Civil Rights Act of 1866,” as amended, and 42 U.S.C. §1981, as

amended;

      c.       Grant Plaintiff an Order requiring the Defendant to make her whole

by granting appropriate declaratory relief, compensatory damages (including

damages for mental anguish), punitive damages, interest, attorney’s fees, expenses,

costs; and

      d.       Plaintiff prays for such other, further, different or additional relief and

benefits as justice may require.




                                             7
         Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 8 of 10




                                     COUNT TWO

                    STATEMENT OF PLAINTIFF’S 42 U.S.C. § 1981
                            RETALIATION CLAIMS

       38.    Plaintiff adopts and realleges paragraphs one (1) through thirty-seven

(37) as if fully set forth herein.

       39.    Plaintiff avers that she has been unjustly harassed, denied pay, and

terminated in retaliation for engaging in a protected activity, and that there is a

causal link between Plaintiff engaging in a protected activity and the adverse

actions she suffered. Plaintiff has been retaliated against in violation of 42 U.S.C. §

1981, as amended. Defendant has a habit and/or practice of retaliating against

employees that engage in protected activity.

       40.    Plaintiff has no plain, adequate or complete remedy at law to redress

the wrongs alleged herein and this suit for back pay, front pay, compensatory

damages, punitive damages, attorney’s fees, injunctive relief and declaratory

judgment is her only means of securing adequate relief. Plaintiff is now suffering

and will continue to suffer irreparable injury from Defendant’s unlawful policies

and practices as set forth herein unless enjoined by this Court.

                               PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff requests that this Court adopt jurisdiction of

this action and award Plaintiff the following relief:



                                           8
           Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 9 of 10




      a.       Enter a declaratory judgment that Defendant’s policies, practices and

procedures complained of herein have violated and continue to violate the rights of

the Plaintiff as secured by 42 U.S.C. § 1981, as amended;

      b.       Grant Plaintiff a permanent injunction enjoining Defendant, its Agents

Successors, Employees, Attorneys, and those acting in concert with Defendant or

at Defendant’ request from violating 42 U.S.C. § 1981, as amended;

      c.       Grant Plaintiff an Order requiring the Defendant to make her whole

by granting appropriate declaratory relief, compensatory damages (including

damages for mental anguish), punitive damages, interest, attorney’s fees, expenses,

costs; and,

d.    Plaintiff prays for such other, further, different or additional relief and

benefits as justice may require.

      PLAINTIFF HEREBY REQUESTS TRIAL BY STRUCK JURY


                                               /s/ Nicole Davis Edwards
                                               NICOLE DAVIS EDWARDS
                                               State Bar ID No: ASB-4832-B19D
                                               Attorney for Plaintiff

OF COUNSEL:
EDWARDS & EDWARDS
ATTORNEYS AND MEDIATORS, PLLC
1530 3rd Avenue North
Bessemer, Alabama 35020
Tel: (205) 549-1379
E-mail: nicole.eeam@icloud.com


                                           9
     Case 2:17-cv-00941-LSC Document 1 Filed 06/06/17 Page 10 of 10




PLAINTIFF’S ADDRESS:
Ms. Latesia Rancher
c/o EDWARDS & EDWARDS
ATTORNEYS AND MEDIATORS, PLLC
1530 3rd Avenue North
Bessemer, Alabama 35020

PLEASE SERVE DEFENDANT AT THE FOLLOWING ADDRESS:
Brookdale Senior Living Communities, Inc.
641 South Lawrence Street
Montgomery, Alabama 36104




                                   10
